The Attorney General is in receipt of your request for an opinion wherein you ask, in essence, the following question: Is 47 O.S. 2-308 [47-2-308] (1978) valid in light of the provisions of Public Law 93-406, "Employee Retirement Income Security Act of 1974, Parts 2-4? By way of background, 47 O.S. 2-308 [47-2-308] (1978), refers to payments on termination of membership in the pension plan of the Department of Public Safety, which is, of course, a pension plan established by the State of Oklahoma, for the benefit of employees of the State of Oklahoma.  Public Law93-406, The Employee Retirement Income Security Act of 1974, is an act of Congress: ". . . to protect . . . the interests of participants in private pension plans and their beneficiaries by improving the equitable character and the soundness of such plans by requiring them to vest the accrued benefits of employees with significant periods of service, to meet minimum standards of funding, and by requiring plan termination insurance." Emphasis added Public Law 93-406, Title I, A Section 2(c).  Title I, A, Section 3 (32) defines a "Governmental Plan" as a plan established or maintained by the Government of the United States, or the government of any state or political subdivision thereof. In Title I, A, Section 4 (b) (1) of the Federal act, the following provision is set out: "(b) The provisions of this title shall not apply to any employee benefit plan if — "(1) such plan is a government plan (as defined in section 3(32))" The pertinent parts of the act referred to in the question submitted for an opinion are all part of Title I of said act.  The Federal act referred to clearly does not apply to state pension plans by the terms of the act itself.  It is, therefore, the opinion of the Attorney General that the provisions of Title I, Parts 2-4 of Public Law 93-406 have no effect on the validity of 47 O.S. 2-308 [47-2-308] (1978).  (STEPHEN F. SHANBOUR) (ksg)